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                     UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                                 PROCEEDINGS UNDER CHAPTER 13
                                                 CASE NO. 22-13936-BKC-RAM
IN RE:
MONICA PALMER,
                   DEBTOR(S).
                                 /


                   TRUSTEE'S NOTICE OF NON-COMPLIANCE

        Nancy K. Neidich, Standing Chapter 13 Trustee, files this Notice
of Non-Compliance and states as follows:
        1.   At the Confirmation Hearing held on August 23, 2022,
the debtor(s) agreed to become current with $6,084.02 by five o’clock
in the afternoon.
        2.   As of August 29, 2022, the debtor(s) has failed to comply
with this agreement as the last payment received by the Trustee was
on August 5, 2022, in the amount of $2,108.00.
     3.      Accordingly, the Trustee is requesting entry of an Order
Dismissing the Chapter 13 Case.
     I hereby certify that a true and correct copy of the foregoing
was mailed by postage prepaid mail to the following on August 29,
2022.


                                         /s
                                        NANCY K. NEIDICH, ESQUIRE
                                        STANDING CHAPTER 13 TRUSTEE
                                        P.O. BOX 279806
                                        MIRAMAR, FL 33027
                                        (954) 443-4402


COPIES FURNISHED TO:

Monica Palmer
8635 N Miami Ave
Miami, FL 33150

JOSE SABATIER, ESQUIRE (ECF)
